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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT




 VENGROFF INVESTMENTS, LP,

                Plaintiff

                - versus -
                                                        VERIFIED COMPLAINT
 Motor Yacht KAMELOT, Official Number
 528568, her engines, boilers, machinery,
 anchors, gear, equipment, and all other
 appurtenances, in rem

                Defendant



       Plaintiff, Vengroff Investments, LP, by and through its attorneys, Lennon, Murphy &

Phillips LLC, as and for its Verified Complaint against the M/V KAMELOT, her engines, boilers,

machinery, anchors, gear, equipment, and all other appurtenances, in rem, alleges upon

information and belief as follows:

       1. This is an action within the admiralty and maritime jurisdiction of the Court pursuant to

28 U.S.C. § 1333, and this Verified Complaint states a maritime claim within the meaning of Rule

9(h) of the Federal Rules of Civil Procedure.

       2. Plaintiff Vengroff Investments, LP (“Vengroff”) is a limited partnership organized and

existing under and by virtue of the laws of the State of Nevada, with an office and principal place

of business at 5135 Riverwood Avenue, Sarasota, FL 34231. Vengroff is in the financial services

business and inter alia makes loans to businesses and individuals for various purposes.

       3. The M/Y KAMELOT (ex-GARBO) is a 74-foot, motor yacht built in 1970, documented

under the laws of the United States, bearing official number 528568 (“the Vessel”). The Vessel is


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now physically located at Bridgeport Boatworks, LLC, 731 Seaview Ave, Bridgeport, CT 06607,

within the jurisdiction of this Honorable Court.

        4. Venue is proper by reason of 28 U.S.C. § 1391(b)(2) in that the property that is the

subject of the action is situated in the District, as aforesaid.

        5. By a Commercial Loan Note dated December 22, 2011, Vengroff loaned $255,000 to

PDC Yachting Inc., the owner of the Vessel at that time, which loan was, by its terms, “secured

by one or more security instruments” executed by the Borrower in favor of Vengroff. The Note

was signed by Carl V. Johnson, III, director of PDC Yachting Inc.

        6. On the same day, Mr. Johnson and Cindy Curtis provided a Continuing Guaranty by

which they guaranteed payment of the “Promissory Note” in the amount of $255,000, which is a

reference to the aforementioned Commercial Loan Note. Paragraph 3 of the Guaranty authorized

the Lender to “[t]ake and hold security for the payment of this guaranty or the indebtedness

guaranteed.”

        7. Also on December 22, 2011, PDC Yachting Inc., as mortgagor, gave Vengroff, as

mortgagee, a First Preferred Ship Mortgage on the Vessel, then named the GARBO, to Vengroff

as security for the indebtedness evidenced by the Promissory Note executed that same day in the

amount of $255,000. A copy of the Mortgage is annexed as Exhibit A to this Verified Complaint.

        8. According to a Bill of Sale dated July 30, 2012, Mr. Johnson and Ms. Curtis sold all the

shares of PDC Yachting Inc. to Alexander Nathan. On November 5, 2012, an attempt was made

to file with United States Coast Guard a Satisfaction of Mortgage in the amount of $10.00,

apparently to relieve Johnson and Curtis as Mortgagors. However, the filing was rejected by the

Coast Guard and the Mortgage continued in effect and remains in effect as against the Vessel.




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       9.     By a Commercial Loan Note (Replacement Note) effective July 27, 2012 that

superseded and replaced the Commercial Loan Note from PDC Yachting Inc., Alexander Nathan

promised to pay $255,000 to Vengroff, as Lender. The Replacement Note specifically provided

that “[t]his Note and the obligations of Borrower hereunder is secured by that certain Mortgage

(‘Mortgage’) encumbering the property described therein.”

       10. By means of a Continuing Guaranty dated July 27, 2012, Mr. Nathan unconditionally

guaranteed to Vengroff, as Lender, full payment and performance of the Replacement Note

effective July 27, 2012, in the amount of $255,000.00.

       11. By means of a Purchase and Sale Agreement dated April 15, 2016, one Chet Dunican

agreed to buy and Alexander Nathan agreed to sell the Vessel, still named GARBO, for $175,000.

       12. On April 23, 2016, Dunican, as Borrower, gave Vengroff, as Lender, a Promissory

Note in the amount of $110,000, which Note provided as follows:

              5. All costs, expenses and expenditures including, and without limitation,
       the complete legal costs incurred by the Lender in enforcing this Note as a result of
       any default by the Borrower, will be added to the principal then outstanding and
       will immediately be paid by the Borrower.

              6. This Note is given to secure the payment of the purchase price of the
       following security (the “Security”): 1970 74’ Berger Yacht Fisherman, Official
       Coast Guard Doc# 528 568.

               7. Title to the Security will be transferred to the Borrower at execution of
       this Note. The Lender will retain a vendors’ lien in the Security and the Borrower
       grants to the Lender a security interest in the Security until this Note is paid in full.
       The Lender will be listed as a lender on the title of the Security whether or not the
       Lender elects to perfect a seller’s security interest in the Security.

              8. If the Borrower defaults in payment as required under this Note or after
       demand for ten (l0) days, the Security will be immediately provided to the Lender
       and the Lender is granted all rights of repossession as a secured party.

A copy of the April 23, 2016 Promissory Note is annexed as Exhibit B to this Verified Complaint.




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       13. Dunican made certain payments to Vengroff but defaulted on the balance due under

the April 23, 2016 Promissory Note, such that $96,178.72 in principal remains due and owing to

Vengroff. In addition, paragraph 5 of the Note specifically provides that “[a]ll costs, expenses and

expenditures including, and without limitation, the complete legal costs incurred by the Lender in

enforcing this Note as a result of any default by the Borrower will be added to the principal then

outstanding and will immediately be paid by the Borrower.”

                                Judgment against Chet Dunican

       14. On July 13, 2017, Vengroff filed a lawsuit against Mr. Dunican in the Circuit Court

for the Twelfth Judicial District in and for the County of Sarasota, FL to recover the $96,178.72

Mr. Dunican owed Vengroff under the April 23, 2016 Promissory Note.

       15. Mr. Dunican appeared pro se in the action and filed an Answer and Counterclaim.

However, he never appeared at any of the motion hearings in person or telephonically. The Florida

Court ultimately entered Orders dismissing Mr. Dunican’s Counterclaim and denying his Motion

to Set Aside Summary Judgment.

       16. On January 17, 2018, the Court entered judgment in favor of Vengroff and against Mr.

Dunican in the total amount of $102,487.19, consisting of $96,178.72 as the principal amount due

under the April 23, 2016 Promissory Note plus $5,770.72 in interest and $537.75 in costs.

       17. Since Mr. Dunican is believed to be a resident of Connecticut, on October 1, 2018,

Vengroff filed a Certification of Foreign Judgment in Connecticut Superior Court for the Judicial

District of New London to have the Florida judgment recognized as a Connecticut judgment.

                      Repossession of the M/V KAMELOT (ex-GARBO)

       18. By virtue of having the Florida judgment against Dunican recognized as a Connecticut

judgment, Vengroff was entitled to have the judgment enforced against Mr. Dunican’s property.



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        19. Vengroff understands and believes that Mr. Dunican remains the beneficial owner of

the Vessel. As a result, on November 20, 2020, a Connecticut marshal seized the Vessel in order

to give possession of the boat to plaintiff.

        20. Vengroff has paid the marshal’s fees and, pursuant to Connecticut law, is now in lawful

possession of the Vessel at Bridgeport Boatworks.

                           Entitlement to Arrest the M/V KAMELOT

        21. On January 17, 2012, plaintiff filed the First Preferred Ship Mortgage (attached as

Exhibit A to this Verified Complaint) with the National Vessel Documentation Center (“NVDC”)

operated and maintained by the United States Coast Guard at Falling Waters, West Virginia, and

the record of the NVDC for the Vessel shows the name and official number of the vessel, the name

of the parties to the Mortgage, the interest in the vessel mortgaged, and the original amount of the

Note secured by the Mortgage.

        22.    As a matter of law, a mortgagee under a First Preferred Ship Mortgage holds a

maritime lien which it may assert against the subject vessel – in this case, the M/Y KAMELOT –

by having the vessel arrested pursuant to Rule C of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions, annexed to the Federal Rules of Civil Procedure.

                       Cause of Action Against the Vessel In Rem

        23. Plaintiff repeats and realleges each and every fact and allegation set forth in paragraphs

1 through 22 of this Verified Complaint with the same force and effect as if herein repeated and

set forth at length.

        24. Mr. Dunican’s obligation to pay Vengroff the balance that remains due under the April

23, 2016 Promissory Note is secured by the First Preferred Ship Mortgage that Vengroff holds

against the Vessel.



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       25. The encumbrance and right to foreclose embodied in the First Preferred Ship Mortgage

are independent of whether Mr. Dunican is the owner of the Vessel.

       26. As a result of Dunican’s failure to satisfy the indebtedness secured by the Mortgage,

plaintiff Vengroff is entitled to have the Vessel arrested by the U.S. Marshal and thereby brought

into the custody of this Honorable Court, thereafter to be advertised for sale and sold by judicial

sale in accordance with Rule C of the Supplemental Rules for Admiralty or Maritime Claims.

       27. Specifically, plaintiff Vengroff is entitled to foreclose its maritime mortgage lien

pursuant to the Maritime Lien Act and the Ship Mortgage Act, 46 U.S.C. §31301, et seq.

       28. Plaintiff Vengroff has duly performed all of its obligations under the terms of the First

Preferred Ship Mortgage and the April 23, 2016 Promissory Note.

       WHEREFORE, Plaintiff prays that:

       1. That process of arrest, in due form of law, according to the course and practice of this

Honorable Court in causes of Admiralty and Maritime Jurisdiction within the meaning of the

Constitution of the United States and Rule 9(h) of the Federal Rules of Civil Procedure, may issue

against the Vessel M/Y KAMELOT and her engines, boilers, machinery, anchors, gear, equip-

ment, and all other appurtenances as provided in Rule C of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions, annexed to the Federal Rules of Civil Procedure,

and that all persons claiming any interest in the Vessel may be cited to appear and answer the

matters aforesaid, and that the Vessel, and her engines, boilers, machinery, anchors, gear, equip-

ment, and all other appurtenances, may be seized, condemned and sold to pay the demands and

claims aforesaid, with interest, costs, expenses and attorneys’ fees, and that Plaintiff have such

other and further or different relief as in law and justice they may be entitled to receive; and




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       2. That notice of the commencement of this action in manner approved by the Court be

given to the owner, custodian, master or other ranking officer of the yacht KAMELOT and to any

person, firm or corporation which has recorded a notice of claim of any undischarged lien upon

the Vessel; and

       3. That the Mortgage, be declared to be a valid and subsisting lien against the Vessel in

the sum of $102,487.19, representing the balance due under the April 23, 2016 Promissory Note,

plus interest and previously awarded costs, said lien to be prior and superior to the interest, liens,

or claims of any and all other persons, firms or corporations whatsoever, except such persons,

firms or corporations as may hold preferred maritime liens on the Vessel; and

       4. That Plaintiff is entitled to all available remedies under the Mortgage and the April 23,

2016 Promissory Note, including but not limited to recovery of all costs, expenses and

expenditures including legal fees and disbursements incurred by Plaintiff in connection with this

action; and

       5. That the yacht KAMELOT, and her engines, boilers, machinery, anchors, gear, equip-

ment, and all other appurtenances be condemned and sold to pay the demands and claims aforesaid,

with interest and costs, and that Plaintiff may become a purchaser at any sale of the mortgaged

property and may credit bid indebtedness due under the April 23, 2016 Promissory Note at such

sale; and

       6. That it be decreed that any and all persons, firms or corporations claiming any interest

in the yacht KAMELOT are forever barred and foreclosed of and from all right or equity of

redemption or claim of, in or to the mortgaged vessel and every part thereof; and

       7. That Plaintiff have such other and further or different relief as may be just and proper

in the premises.



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Dated: Westport, CT
       December 4, 2020
                                   LENNON, MURPHY & PHILLIPS LLC
                                   Attorneys for Vengroff Investments, LP


                                   By:
                                         ________________________
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               EXHIBIT A
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               EXHIBIT B
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                              PROMISSORY NOTE
                                      I



Borrower:        Chet Dunican of208 Old Blac Point Rd, Niantic CT 06357 (the
                 "Borrower")
Lender:          Vengroff Investments LP, 513 ;' Riverwood Ave, Sarasota FL 34231

Principal Amount:     $110,000.00 USD               i
                                                 �
   1. FOR VALUE RECEIVED, The Borrower promises to pay to the Lender at such address
      as may be provided in writing to the Borr°i er, the principal sum of $110,000. 00 USD,
      with interest payable on the unpaid princiPial at the rate of6. 00 percent per annwn,
      calculated on a 15-year basis. (Or yearly nbt in advance).
                                                I
  2. This Note will be repaid in consecutive mJnthly installments of $928.24 each
     commencing on June 1st, 2016 and contin*ing on the first ofeach following month with
                                             . I

                                                 1
     the balance then owing under this Note of 96,049.65 being paid on May 1st, 2019.
                                                 [
   3. At any time while not in default under this Note, the Borrower may pay the outstanding
      balance then owing under this Note to the . ender without further bonus or penalty.
                                                i



  4. Notwithstanding anything to the contrary ip this Note, ifthe Borrower defaults in the
                                               lf
     performance ofany obligation under this ote, then the Lender may declare the principal
     amount owing and interest due under this *ote at that time to be immediately due and
     payable.                                  Il



  5. All costs, expenses and expenditures inclu�ing, and without limitation, the complete legal
     costs incurred by the Lender in enforcing t�is Note as a result ofany default by the
     Borrower, will be added to the principal th�n outstanding and will immediately be paid
     by the Borrower.
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